Case 19-20099 Doc1 Filed 07/26/19 Page 1 of 46

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:

DISTRICT OF MARYLAND

 

 

Case number (if known) Chapter you are filing under: IRT

D
@ Chapter 7 ‘

0 Chapter 11
we C) Chapter 12
" CO Chapter 13 O Check if this is an

$9Z 15 ,
Official Form 101 ate 4) 3057

Voluntary Petition for Individuals Filing for Bankruptcy 12117

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 7 in
all of the forms.

 

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

Identify Yourself

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. Your full name

Write the name that is on Shianne

your government-issued First name First name
picture identification (for

example, your driver's
license or passport). Middle name Middle name

 

 

 

 

 

Bring your picture St Louis

identification to your - -
meeting with the trustee. Last name and Suffix (Sr., Jr., ff, I) Last name and Suffix (Sr., Jr., tl, II)

 

 

 

 

 

 

2. All other names you have
used in the last 8 years

Include your married or
maiden names.

 

 

3. Only the last 4 digits of
your Social Security
number or federal XXxX-xXX-7908
Individual Taxpayer
Identification number ONV 1A a /
¥ Oo vr ak
(ITIN) LYNOGD AQLANG ANY

BOS Hd So HP oteé
XOG LHUIN-FHONILL TYE

 

 

 

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

 
 

Debtor1 Shianne St Louis

Case 19-20099 Doc 1

 

4. Any business names and
Employer identification
Numbers (EIN) you have
used in the last 8 years

Include trade names and
doing business as names
y

;

About Debtor.1:

 

@ | have not used any business name or EINs.

Filed 07/26/19 Page 2 of 46

Case number (if known)

 

 

(Z| have not used any business name or EINs.

 

Business name(s)

 

Business name(s)

 

EINs

 

EINs

 

5. Where you live

7940 Dunhill Village Circle
Apt 203
Windsor Mill, MD 21244

 

 

 

 

If Debtor 2 lives at a different address:

 

Number, Street, City, State & ZIP Code

Baltimore

 

 

Number, Street, City, State & ZIP Code

 

County

lf your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

 

County

lf Debtor 2's mailing address is different from yours, fill it
in here. Note that the court will send any notices to this
mailing address.

 

Number, P.O. Box, Street, City, State & ZIP Code

 

Number, P.O. Box, Street, City, State & ZIP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Check one:

M Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

Oo | have another reason.
Explain. (See 28 U.S.C. § 1408.)

Check one:

Os Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

D | have another reason.
Explain. (See 28 U.S.C. § 1408.)

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2
Debtor? Shianne St Louis

Case 19-20099 Doc1 Filed 07/26/19 Page 3 of 46

Case number (if known)

 

 

Tell the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under

@ Chapter 7

OO Chapter 11

O Chapter 12

0 Chapter 13

8. How youwill pay the fee ( | will pay the entire fee when | file my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

Ms need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
The Filing Fee in installments (Official Form 103A).

OO _sIrequest that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

9. Have you filed for HNo

bankruptcy within the ‘
last 8 years? O Yes.
District When Case number
District When Case number
District When Case number
10. Are any bankruptcy HENo
cases pending or being
filed by aspouse whois (1 Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your HENo Go to line 12.
residence? ,
O Yes. Has your landlord obtained an eviction judgment against you?

oO No. Go to line 12.

oO Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
this bankruptcy petition.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 3

 
Debtor1 Shianne St Louis

 

Case 19-20099 Doc1 Filed 07/26/19 Page 4 of 46

Case number (if known)

 

 

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor

of any full- or part-time
business?

A sole proprietorship is a
business you operate as
an individual, and is not a
separate legal entity such
as a corporation,
partnership, or LLC.

If you have more than one
sole proprietorship, use a

separate sheet and attach
it to this petition.

HE No. Go to Part 4.

O Yes. Name and location of business

 

Name of business, if any

 

Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:
Health Care Business (as defined in 11 U.S.C. § 101(27A))

Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

ooaqaagdaq

 

13.

Are you filing under
Chapter 11 of the
Bankruptcy Code and are
you a small business
debtor?

For a definition of smailf
business debtor, see 11
U.S.C. § 101(51D).

If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
deadlines. |f you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
in 11 U.S.C. 1116(1)(B).

No. lam not filing under Chapter 11.
QO No. lam filing under Chapter 11, but | am NOT a small business debtor according to the definition in the Bankruptcy
Code.
O Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the Bankruptcy Code.

 

14.

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?

No.

O Yes.
What is the hazard?

 

If immediate attention is
needed, why is it needed?

 

Where is the property?

 

Number, Street, City, State & Zip Code

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 4
Debtor1 Shianne St Louis

Case 19-20099 Doc1 Filed 07/26/19 Page 5 of 46

 

Explain Your Efforts to Receive a Briefing About Credit Counseling

Case number (if known)

 

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. If you cannot do
so, you are not eligible to
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

About Debtor 1:

optriust check one:
| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

O_sIreceived a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have
a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

| certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

O_ | am not required to receive a briefing about
credit counseling because of:

O1_—siIncapacity.
| have a mental iliness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

oO Disability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after |
reasonably tried to do so.

Ol Active duty.
| am currently on active military duty in a
military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

 

 

 

 

 

 

 

 

About Debtor 2 (Spouse Only.in a Joint Case):

You must check one:

O_siIreceived a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

O1_sIreceived a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

O_sIcertify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

Olam not required to receive a briefing about credit
counseling because of:

0 _sIncapacity.
| have a mental iliness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

O_sDisability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

O Active duty.
! am currently on active military duty in a military
combat zone.

If you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 5
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Debtor1 Shianne St Louis Case number (if known)

 

 

Answer These Questions for Reporting Purposes

 

16. What kind of debts do 16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
you have? individual primarily for a personal, family, or household purpose.”

C1 No. Go to line 16b.
Ml Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

0 No. Go to line 16c.
O Yes. Go to line 17.

 

 

16c. State the type of debts you owe that are not consumer debts or business debts
17. Are you filing under OINo. |! amnot filing under Chapter 7. Go to line 18.
Chapter 7?
Do you estimate that HM yes._ | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses

after any exempt are paid that funds will be available to distribute to unsecured creditors?

property is excluded and

administrative expenses MNo
are paid that funds will

be available for C] Yes
distribution to unsecured

creditors?

 

18. How many Creditorsdo gm 4_49 Dd 1,000-5,000 0 25,001-50,000

you estimate that you

 

CO 50-99 0 5001-10,000 0 50,001-100,000
owe? 50
CO 100-199 C1 10,001-25,000 O More than100,000
C0 200-999
19. How much do you I $0 - $50,000 O $1,000,001 - $10 million C2 $500,000,001 - $1 billion

estimate your assets to
be worth?

CO $50,001 - $100,000
D $100,001 - $500,000
C3 $500,001 - $1 million

[1 $10,000,001 - $50 million
(1 $50,000,001 - $100 million
1 $100,000,001 - $500 million

CF $1,000,000,001 - $10 billion
oO $10,000,000,001 - $50 billion
OO] More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

DO $0 - $50,000

BB $50,001 - $100,000
C1 $100,001 - $500,000
D $500,001 - $1 million

1 $1,000,001 - $10 million

C1 $10,000,001 - $50 million
1 $50,000,001 - $100 million
1 $100,000,001 - $500 million

1 $500,000,001 - $1 billion

[ $1,000,000,004 - $10 billion
C) $10,000,000,001 - $50 billion
O More than $50 billion

 

cueee! Sign Below
For you | have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

If thave chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out this
document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

 
 
    
 

ptcy case can result i ¥ up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,

rstand making a false g ent, concealing property, or obtaining money or property by fraud in connection with a
571.

  

 

 

“Shidnne St Louis
Signature of Debtor 1

Signature of Debtor 2

Executed on July 26, 2019 Executed on

MM /DD/YYYY

 

 

MM/DD/YYYY

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 6
Debtor1 Shianne St Louis

Case 19-20099 Doc1 Filed 07/26/19 Page7 of 46

Case number (if known)

 

 

 

For your attorney, if you are
represented by one

If you are not represented by
an attorney, you do not need
to file this page.

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed
under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
for which the person is eligible. | also certify that | have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
and, in a case in which § 707(b)(4)(D) applies, certify that | have no knowledge after an inquiry that the information in the
schedules filed with the petition is incorrect.

Date July 26, 2019

 

 

 

 

 

 

 

Signature of Attorney for Debtor MM / DD / YYYY
Printed name [
/ Z
Firm name \ ( | ( -
Number, Street, Cify, State @ ZIP Code © \ \
Contact phone Email address

 

 

 

Bar number & State

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 7
 

Debtor! Shianne St Louis

Case 19-20099 Doc1 Filed 07/26/19 Page 8 of 46

Case number (if known)

 

 

 

For you if you are filing this
bankruptcy without an
attorney

If you are represented by an
attorney, you do not need to
file this page.

The law allows you, as an individual, to represent yourself in bankruptcy court, but you should understand that many
people find it extremely difficult to represent themselves successfully. Because bankruptcy has long-term
financial and legal consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very technical, and a mistake or
inaction may affect your rights. For example, your case may be dismissed because you did not file a required document,
pay a fee on time, attend a meeting or hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy
administrator, or audit firm if your case is selected for audit. If that happens, you could lose your right to file another case,
or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the court. Even if you plan to pay
a particular debt outside of your bankruptcy, you must list that debt in your schedules. If you do not list a debt, the debt may
not be discharged. If you do not list property or properly claim it as exempt, you may not be able to keep the property. The
judge can also deny you a discharge of all your debts if you do something dishonest in your bankruptcy case, such as
destroying or hiding property, falsifying records, or lying. Individual bankruptcy cases are randomly audited to determine if
debtors have been accurate, truthful, and complete. Bankruptcy fraud is a serious crime; you could be fined and
imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had hired an attorney. The court
will not treat you differently because you are filing for yourself. To be successful, you must be familiar with the United
States Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the local rules of the court in which your case is
filed. You must also be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal consequences?
NT)
Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are inaccurate or incomplete, you
could be fined or imprisoned?

[1 No
WM yYes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
[] No
yes Name of Person Andrea Scott
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

 

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. | have read and understood

this notice, and | am aware that filing a bankruptcy case without an attorney may cause me to lose my rights or property if | do
nowproperly handle the cag
sj "

Shiianne St Louis Signature of Debtor 2
Signature of Debtor 1

 

 

 

 

 

 

Date July 26, 2019 Date
MM /DD/YYYY MM/DD/YYYY
Contact phone Contact phone
Cell phone 410-499-6741 Cell phone
Email address Email address

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 8
Case 19-20099 Doc1 Filed 07/26/19 Page 9 of 46

Fill in this information to identify your case:

Debtor 1 Shianne St Louis

First Name Middle Name Last Name

  
  
  

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

™

JUL 28 duis

SRANKE JUTOS § OORT
DISiwCT OF MAKYLAND
Case number

(f known) DROP BbxCheck if this is an
amended filing

United States Bankruptcy Court forthe: DISTRICT OF MARYLAND

 

 

 

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

Summarize Your Assets

 

 

  

Your assets
Value of what you o'

1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule AJB... eececccesssesesessessecsseseescscsesssccecsssenscscsesuvavacesesestssessevasasees $ 0.00
1b. Copy line 62, Total personal property, from Schedule A/B............ccceccscecceccessceceesceseesesscenesesseesessasseseasssensevsesates $ 3,400.00
1c. Copy line 63, Total of all property on Schedule A/Bo............cecccccceececssscsessesesteccacseseseeesesenecocsesunecauscesteverereevesasenses $ 3,400.00

Summarize Your Liabilities

 

 

 

 

 

 

Your liabilities
Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 11,289.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F....0..... cc ccceceeeeee $ 0.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F......0.cccceee $ 46,151.86
Your total liabilities | $ 57,440.86
Summarize Your Income and Expenses
4. Schedule |: Your Income (Official Form 1061)
Copy your combined monthly income from line 12 of Schedule [ooo ec ccccececeecesescesseccevesvecsscessaeesescsseatesvaceeeseace $ 3,757.53
5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of SCHEQUIC Joo..cccc ec ceeeceecescececsesseseaceavscessaccevseventevessaavaness $ 3,737.00

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

M@ Yes
7. What kind of debt do you have?

@ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

1 Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Case 19-20099 Doc1 Filed 07/26/19 Page 10

Debtor1 Shianne St Louis Case number (if known)

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form

   

of 46

 

 

 

 

 

 

 

 

122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. 4,736.72
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
. ; . __ Fotal claim
From Part 4 on Schedule E/F, copy the following: i.
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) $ 10,023.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.) $ 0.00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through 9f. $ 10,023.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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Best Case Bankruptcy

 
Case 19-20099 Doc1 Filed 07/26/19 Page 11 of 46

Fill in this information to identify your case and this filing:

Debtor 1 Shianne St Louis

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: DISTRICT OF MARYLAND

 

Case number Po i 3 O Check if this is an
amended filing

 

 

 

- WUL 20 guig
Official Form 106A/B US PAKR TOS os app
Schedule A/B: Property | DISLSICT UF Max LaND 42115

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than opersets gory, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

a No. Go to Part 2.
O Yes. Where is the property?

Describe Your Vehicles

Do you own, lease, or have legai or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

OO No

Yes

3.1 Make: Checy Who has an interest in the property? Check one Do not deduct secured claims or exemptions. Put

, a the amount of any secured claims on Schedule D:

Model: Equinox BB pebtor 1 only Creditors Who Have Claims Secured by Property.
Year. 2014 C1 Debtor 2 only Current value of the Current value of the
Approximate miteage: 68000 C] Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: D Atleast one of the debtors and another
Location: 7940 Dunhill Village
Circle Apt 203, Windsor Mill MD C1 Check if this is community property $6,239.00 $6,239.00
21244 (see instructions}

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

HNo
DO Yes

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for

pages you have attached for Part 2. Write that number here................scccccsssecsssssessersenseesersatsecestenteseesenseesensaess => $6,239.00

 

 

 

 

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

Official Form 106A/B Schedule A/B: Property page 1
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Debtor 1 Shianne St Louis Case number (if known)

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

DO No
Ml Yes. Describe...

 

| Various Furniture $1,500.00

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices

including cell phones, cameras, media players, games
11 No
Ml Yes. Describe...

 

various Electronics | $200.00

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;

other collections, memorabilia, collectibles
BNo
D Yes. Describe.....

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;

musical instruments
MI No
0 Yes. Describe.....
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
MNo
O Yes. Describe.....

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

O No
Wl Yes. Describe.....

 

| Various Clothes $800.00

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

No
Hl Yes. Describe.....

 

| various Jewelry $100.00

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

No
CJ Yes. Describe...

14. Any other personal and household items you did not already list, including any health aids you did not list
MNo

O Yes. Give specific information.....

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here .............sccscccssssssssscsscssssssseesseseeseeseseceseesseseeteeseenaee $2,600.00

 

 

 

Official Form 106A/B Schedule A/B: Property page 2

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Debtor 1 Shianne St Louis Case number (if known)

 

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value ofthe
portion you own?
Do not deduct secured
claims or exemptions:

 

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

HNo

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.
ONo

ves Institution name:

17.1. Checking Accounr Wells Fargo $0.00

 

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

No
0 Yes Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

HNo

O Yes. Give specific information about them.................
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Mi No
© Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

BNo

O Yes. List each account separately.
Type of account: institution name:

22. Security deposits and prepayments
Your share of ali unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

[No

MyYces......... Institution name or individual:

Rental Security Deposit $800.00

 

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
Mi No
Ol Yes......0..... Issuer name and description.

24, Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

MNo
O yYes............. Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
MNo

Official Form 106A/B Schedule A/B: Property page 3
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Debtor 1 Shianne St Louis Case number (if known)

 

O Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

MNo
(1 Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

HNo
0 Yes. Give specific information about them...

Money or property owed-to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
MNo
O Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

HI No
O Yes. Give specific information...

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

MNo
C Yes. Give specific information..

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

Hi No

DO Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

Hino
O Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

HNo
(Yes. Describe each claim.........

34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
MNo
0 Yes. Describe each claim.........

35. Any financial assets you did not already list
MNo
O Yes. Give specific information.

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

 

 

 

 

for Part 4. Write that number here.................scscccssccssssssssscsesssesesssssecssrsssuceessssssesssesescstssssacsensectessacsussseecesecaeesece $800.00
Official Form 106A/B Schedule A/B: Property page 4

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Debtor 1 Shianne St Louis Case number (if known)

 

EEA Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
MH No. Go to Part 6.

D Yes. Go to line 38.

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any fegal or equitable interest in any farm- or commercial fishing-related property?
Wi No. Go to Part 7.
O Yes. Go to line 47.

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

HNo
CO Yes. Give specific information.........

 

 

 

 

 

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here. ...........:-sccccessesesseseeseees $0.00
List the Totals of Each Part of this Form

55. Part 1: Total real estate, lime 2 ...........scssscscsssssssssscsssssesssocesssssessessecuessueseucsessscesesseessustsssesacssessessatatscaceceseesesees $0.00

56. Part 2: Total vehicles, line 5 $0.00

57. Part 3: Total personal and household items, line 15 $2,600.00

58. Part 4: Total financial assets, line 36 $800.00

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $3,400.00 Copy personal property total $3,400.00

63. Total of all property on Schedule A/B. Add line 55 + line 62 $3,400.00
Official Form 106A/B Schedule A/B: Property page 5

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Fill in this information to identify your case:

Debtor 1 Shianne St Louis

First Name Middie Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: DISTRICT OF MARYLAND

 

Case number
(if known) O Check if this is an

amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 4/19

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the vaiue of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Identify the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
WI You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
CO You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you ctaim as exempt, fill in the information below.

Brief description of the property and. line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own :
Copy the value from Check only one box for each exemption
Schedule A/B
Various Furniture $1,500.00 $1,000.00 Md. Code Ann., Cts. & Jud.
. . ; .
Line from Schedule A/B: 6.1 , Proc. § 11-504(b)(4)

 

0 100% of fair market value, up to
any applicable statutory limit

 

Various Furniture $1,500.00 $500.00 Md. Code Ann., Cts. & Jud.
Line from Schedule A/B: 6.1 Proc. § 11-504(b)(5)
Cl 100% of fair market value, up to
any applicable statutory limit

 

 

various Electronics $200.00 $200.00 Md. Code Ann., Cts. & Jud.
Line from Schedule A/B: 7.1 —_—--————— Proc. § 11-504(b)(5)
O 100% of fair market value, up to
any applicable statutory limit

 

Various Clothes $800.00 mf $800.00 Md. Code Ann., Cts. & Jud.
Line from Schedule A/B: 11.1 a —.——————— Proc. § 11-504(b)(5)
O 100% of fair market value, up to
any applicable statutory limit

 

various Jewelry $100.00 a $100.00 Md. Code Ann., Cts. & Jud.
Line from Schedule A/B: 12.1 Proc. § 11-504(b)(5)

C1 400% of fair market value, up to
any applicable statutory limit

 

 

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2
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Debtor1 Shianne St Louis Case number (if known)
Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule.A/é that lists this. property portion you own
Copy the value from Gheck only one box for each exemption.
Schedule A/B
Checking Accounr: Wells Fargo $0.00 mf $0.00 Md. Code Ann., Cts. & Jud.
Line from Schedule A/B: 17.1 Proc. § 11-504(b)(5)

 

QO 100% of fair market value, up to
any applicable statutory limit

 

Rental: Security Deposit $800.00 mf $800.00 Md. Code Ann., Cts. & Jud.
Line from Schedule A/B: 22.1 Proc. § 11-504(b)(5)

O 100% of fair market value, up to
any applicable statutory limit

 

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

HB No
O Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
[ No
Ol Yes
Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of 2

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Fill in this information to identify your case:

Debtor 1 Shianne St Louis
First Name Middie Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: © DISTRICT OF MARYLAND

 

Case number
(if known) (1 Check if this is an
amended filing

 

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. !f more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).

1. Do any creditors have claims secured by your property?
C1 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
I Yes. Fill in all of the information below.

List All Secured Claims

 

 

 

 

 

 

 

 

. oy . Calumn A Column B Column C
2.-List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more-than one creditor has a particular claim; list the other creditors in Part.2. As Amount of claim Value of collateral Unsecured
much as possible, list the claims in alphabetical order according to the.creditor’s name. Do. not deduct the that supports this portion
value of.collateral. claim If any
2.1 | Capital One Auto Describe the property that secures the claim: $13,571.00 $6,239.00 $7,332.00
Creditor's Name 2014 Checy Equinox 68000 miles
Location: 7940 Dunhill Village Circle
Apt 203, Windsor Mill MD 21244
As of the date you file, the claim is: Check all
P O Box 259407 aly @ date you file, the claim is: Check all that
Plano, TX 75025 oO Contingent
Number, Street, City, State & Zip Code (1 Untiquidated
O Disputed
Who owes the debt? Check one. Nature of lien. Check ali that apply.
WB bebtor 1 only Olan agreement you made (such as mortgage or secured
C1 Debtor 2 only car loan)
C] Debtor 1 and Debtor 2 only QD Statutory lien (such as tax lien, mechanic's lien)
D1 At ieast one of the debtors and another Judgment lien from a lawsuit
OC check if this claim relates to a 0 other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
Add the dollar value of your entries in Column A on:this page. Write that number here: $13,571.00
If this is the last page of your form, add the dollar value totals from all pages.
Write that number here: $13,571.00

 

 

 

GEG2ae List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt-you owe to someone else, list the creditor. in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 4, list the additional creditors here: If you do not have additional persons to. be notified for any
debts in Part 4, do not fill out or submit this page.

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1
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Fill in this information to identify your case:

Debtor 4 Shianne St Louis
First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name

 

Middie Name Last Name

United States Bankruptcy Court forthe: DISTRICT OF MARYLAND

 

Case number
(if known) (0 Check if this is an
amended filing

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

List All of Your PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?

 

a No. Go to Part 2.
O yes.

List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

0 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

HH ves.

4. List alt-of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list clairns already included in: Part 1. if more
than one creditor holds.a particular claim, list the other creditors in:Part 3.if you have more than three nonpriority unsecured claims fill out the Continuation Page of

 

 

 

 

 

Part 2.
Total ciaim
lat | A & G MANAGEMENT Last 4 digits of account number Unknown
Nonpriority Creditor's Name
7779 New York Lane When was the debt incurred?
Glen Burnie, MD 21061
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
I Debtor 1 only D Contingent
CZ] Debtor 2 only DO unliquidated
D1 Debtor 1 and Debtor 2 only Oo Disputed
OC Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
DC Check if this claim is for a community C student loans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino OO] Debts to pension or profit-sharing plans, and other similar debts
O Yes WF other. specify
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 7

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Debtor1 Shianne St Louis

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

42 Advance Radiology Last 4 digits of account number $335.00
Nonpriority Creditor's Name
Po Box 64580 When was the debt incurred?
Baltimore, MD 21264-4580
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Ml Debtor 1 only D Contingent
OD Debtor 2 only O Unliquidated
O Debtor 1 and Debtor 2 only O Disputed
OD Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is fora community C) student loans
debt D Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
Mino O Debts to pension or profit-sharing plans, and other similar debts
0 Yes I other. Specify

4.3 American Credit Acceptance Last 4 digits of accountnumber 2001 $11,289.00
Nonpriority Creditors Name
961 E Main Street, 2nd Fir When was the debt incurred?
Spartanburg, SC 29302
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
@ bebtor 1 only oO Contingent
CJ Debtor 2 only O Unliquidated
D Debtor 4 and Debtor 2 only oO Disputed
OC Atieast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is fora community C1 Student tans
debt DO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
no D1 Debts to pension or profit-sharing plans, and other similar debts
CO ves MM other. Specify 2014 Checy Equinox 68000 miles

4.4 Big Girlz Bail Bonds Inc Last 4 digits of account number 2007 $10,403.27
Nonpriority Creditor's Name
151 N Highland Ave When was the debt incurred?
Baltimore, MD 21224
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only D Contingent
C1 Debtor 2 only C1 unliquidated
O pebtor 1 and Debtor 2 only oO Disputed
OC at least one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is fora community C] student loans
debt C1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No O Debts to pension or profit-sharing plans, and other similar debts
0 Yes IM other. Specify Civil Suit

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 7

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Best Case Bankruptcy
 

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Debtor 1 Shianne St Louis

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Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

45 Capital One Bank Last 4 digits of accountnumber 805 $407.00
Nonpriority Creditor's Name
P O Box 30281 When was the debt incurred?
Salt Lake City, UT 84130
Number Street City State Zip Code As of the date you file, the claim is: Check alt that apply
Who incurred the debt? Check one.
Wi ebtor 1 only | Contingent
1 Debtor 2 only CO unliquidated
D Debtor 1 and Debtor 2 only Oo Disputed
71 at least one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is for a. community C1 student loans
debt C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BE No O Debts to pension or profit-sharing plans, and other similar debts
OD Yes WF other. Specify

46 Capital One Bank Last 4 digits of account number 344 $1,919.00
Nonpriority Creditor's Name
P O Box 30281 When was the debt incurred?
Sait Lake City, UT 84130
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
HF Debtor 1 only Oo Contingent
O Debtor 2 only D Unliquidated
CQ Debtor 1 and Debtor 2 only D Disputed
At least one of the debtors and another Type of NONPRIORITY unsecured claim:
OD Check if this claim is for a community C1 Student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bi No O Debts to pension or profit-sharing plans, and other similar debts
C1 Yes HF other. Specify

47 Charles Emergency Phy Last 4 digits of account number $1,248.00
Nonpriority Creditor's Name
P O Box 42934 When was the debt incurred?
Philadelphia, PA 19101
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only O Contingent
O Debtor 2 only | Unliquidated
D1 Debtor 1 and Debtor 2 only D Disputed
D at least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is for a community O student loans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
No C1 Debts to pension or profit-sharing plans, and other similar debts
O Yes other. specify

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 7

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Debtor1 Shianne St Louis

 

 

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Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

48 Comptroller Of Maryland Last 4 digits of account number $5,562.05
Nonpriority Creditor's Name
110 Carroll St When was the debt incurred?
Annapolis, MD 21411-0001
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
HB Debtor 1 only 0 Contingent
D Debtor 2 only O Unliquidated
CZ Debtor + and Debtor 2 only Oo Disputed
OC Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community CI Student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno C1 Debts to pension or profit-sharing plans, and other similar debts
0 Yes Wi other. Specify

Credit Collection Service Last 4 digits of account number $311.00

Nonpriority Creditor's Name
Two Wells Ave When was the debt incurred?
Newton, MA 02459
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Hi bebtor 1 only | Contingent
CO Debtor 2 only CO) untiquidated
O Debtor 1 and Debtor 2 only O Disputed
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community C1 student loans
debt CZ obiigations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No 0 Debts to pension or profit-sharing plans, and other similar debts
D Yes @ other. specify

4.1

0 EOS Last 4 digits of account number 586 $1,405.60
Nonpriority Creditor's Name
PO Box 981002 When was the debt incurred?
Boston, MA 02298
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Wi pebtor 1 only D Contingent
1 Debtor 2 only 0 unliquidated
O Debtor 1 and Debtor 2 only Oo Disputed
CZ Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No C Debts to pension or profit-sharing plans, and other similar debts
0 Yes @ other. Specify

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 7

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Best Case Bankruptcy
Case 19-20099 Doc 1

Debtor1 Shianne St Louis

 

 

 

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Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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41
1 Gbme Last 4 digits of account number Unknown
Nonpriority Creditor's Name
P.O. Box 418015 When was the debt incurred?
Boston, MA 02241
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
I Debtor 1 only oO Contingent
OD Debtor 2 only oO Unliquidated
D Debtor 1 and Debtor 2 onty D pisputea
C1 at least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is for a community D student loans
debt O obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No D Debts to pension or profit-sharing plans, and other similar debts
0 Yes HF other. Specify
41 . . :
2 Halsted Financial Services LLC Last 4 digits of account number 454 $590.50
Nonpriority Creditor's Name
P O Box 828 When was the debt incurred?
Skokie, IL 60076
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
HF pebtor 1 only O Contingent
0D Debtor 2 only Oo Unliquidated
CO Debtor 1 and Debtor 2 only O Disputed
[1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community C1 Student toans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Eno O pebts to pension or profit-sharing plans, and other similar debts
DO Yes B other. Specify
41 .
3 Navient Last 4 digits of account number $10,023.00
Nonpriority Creditor's Name
P O Box 9500 When was the debt incurred?
Wilkes Barnes, PA 18773
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
B® Debtor 1 only C1 Contingent
D Debtor 2 only 1 unliquidated
3 Debtor 4 and Debtor 2 only C1 Disputed
C1 at ieast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is fora community MB Student loans
debt (1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No O Debts to pension or profit-sharing plans, and other similar debts
O Yes C1 other. Specify
Student Loan
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 7

Best Case Bankruptcy
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Debtor1 Shianne St Louis

 

 

 

 

 

 

 

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Case number (it known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditor's Name
500 Technology Dr, Ste 300
Weldon Spring, MO 63304

 

Number Street City State Zip Code

Who incurred the debt? Check one.

HF Debtor 1 only

O Debtor 2 only

© Debtor 1 and Debtor 2 only

0 At least one of the debtors and another

C1 Check if this claim is for a community
debt

Is the claim subject to offset?
Hino
0 Yes

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

QD Contingent
0 unliquidated

CZ) Disputed
Type of NONPRIORITY unsecured claim:

CO student loans

Oo Obligations arising out of a separation agreement or divorce that you did not

report as priority claims

0 debts to pension or profit-sharing plans, and other similar debts

i other. Specify

 

4.1 .
4 progress leasing Last 4 digits of account number Unknown
Nonpriority Creditor's Name
256 West Data Drive When was the debt incurred?
Draper, UT 84020
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
@ Debtor 1 only D Contingent
O Debtor 2 only Oo Unliquidated
O Debtor 1 and Debtor 2 only O Disputed
CD Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is fora community C1 student ioans
debt C1 obiigations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hi No 0 Debts to pension or profit-sharing plans, and other similar debts
O Yes I other. Specify
41 THE RECEIVABLE ANAGEMENT
5 SERVICES Last 4 digits of accountnumber 0080 $376.44
Nonpriority Creditor's Name
P O Box 19646 When was the debt incurred?
Minneapolis, MN 55419
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
® debtor 1 only 0 Contingent
C1 Debtor 2 only CO unliquidated
O1 Debtor 1 and Debtor 2 only O Disputed
DO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C student loans
debt D0 Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
a 0 Debts to pension or profit-sharing plans, and other similar debts
No
CQ Yes i other. Specify
41
6 VERIZON Last 4 digits of account number Unknown

 

List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 4 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Name and Address

Official Form 106 E/F
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On which entry in Part 1 or Part 2 did you list the original creditor?

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor1 Shianne St Louis

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Case number (if known)

 

Erie Insurance
100 Erie Insurance Place
Erie, PA 16530

 

Line 4.15 of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Mm part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address
JP P O Box 6414
Columbia, MD 21045

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.4 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

@ part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 2007

 

Name and Address

Ralph L. Sapia PA

744 Dulaney Valley Road, Ste 5
Towson, MD 21204

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.4 of (Check one): CZ Part 1: Creditors with Priority Unsecured Claims
WF part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 2007

 

Name and Address

VERIZON

500 Technology Dr, Ste 300
Weldon Spring, MO 63304

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.10 of (Check one): C1 part 1: Creditors with Priority Unsecured Claims

We part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Add the Amounts for Each Type of Unsecured Claim

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each

type of unsecured claim.

 

 

 

 

Total Claim
6a. Domestic support obligations 6a. $ 0.00
Total
claims
from Part 4 6b. Taxes and certain other debts you owe the government 6b. $ 0.00
6c. Claims for death or personal injury while you were intoxicated 6c. $ 0.00
6d. Other. Add all other priority unsecured claims. Write that amount here. 6d. $ 0.00
6e. Total Priority. Add lines 6a through 6d. 6e. $ 0.00
Total Claim
6f. Student loans 6f. $ 10,023.00
Total
claims
from Part 2 6g. Obligations arising out of a separation agreement or divorce that 0.00
you did not report as priority claims 6g. .
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. 0.00
6i. Other. Add all other nonpriority unsecured claims. Write that amount 6i.
here. 33,846.86
6j. Total Nonpriority. Add lines 6f through 6i. 6j. 43,869.86

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Best Case Bankruptcy
 

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Fill in this information to identify your case:

Debtor 1 Shianne St Louis
First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middie Name Last Name

 

United States Bankruptcy Court forthe: | DISTRICT OF MARYLAND

 

Case number
(if known) 1 Check if this is an
amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
HH No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
OQ Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Person or company with whom you have the.contract or lease State what the contract or lease is for
Name, Number, Street, City, State and ZIP Cade

2.1

Name

Number Street

City State ZIP Code
2.2

Name

Number Street

City State ZIP Code
2.3

Name

Number Street

City State ZIP Code
2.4

Name

Number Street

City State ZIP Code
2.5

Name

Number Street

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

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Case 19-20099 Doc1 Filed 07/26/19 Page 27 of 46

Fill in this information to identify your case:

Debtor 1 Shianne St Louis
First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: © DISTRICT OF MARYLAND

 

Case number
(if known) ( Check if this is an
amended filing

 

 

 

Official Form 106H
Schedule H: Your Codebtors 12/45

 

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. if two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

BNo
QD Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No. Go to line 3.
CO Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
out Column 2.

 

 

 

 

 

 

Column 1: Your-codebtor Column 2: The creditor to whom you owe the debt
Nama, Number, Street, City, State and ZIP Code Check all schedules that apply:
3.1 OD Schedule D, line
Name CO Schedule E/F, line
CO Schedule G, line
Number Street
City State ZIP Code
O Schedule D, line
Name C Schedule E/F, line
OC Schedule G, line
Number Street
City State ZIP Code
Official Form 106H Schedule H: Your Codebtors Page 1 of 1

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Fill in this information to identi

Debtor 1 Shianne St Louis

 

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 

Case number Check if this is:
{If known) O An amended filing

O Asupplement showing postpetition chapter
13 income as of the following date:

 

 

 

Official Form 1061 uM TDD YWvT
Schedule |: Your Income 1245

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

 

1. Fill in your employment oe
information. Debtor 4

 

Debtor 2 or non-filing spous

 

If you have more than one job, Empl t stat Employed Ci Employed
attach a separate page with mployment status
information about additional C1 Not employed C] Not employed
employers. .

Occupation Dental Tech

 

Include part-time, seasonal, or ' .
self-employed work. Employer's name Family Dental

 

Cccupaton may nude ident Employers address 504 Ritchie Highway
, Brooklyn, MD 21225

 

How long employed there? 8 years

 

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. if you need
more space, attach a separate sheet to this form.

  
 

For Debtor 1 For Debtor 2 or
. non-filing spous:

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 4,325.27 $ N/A
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +% N/A
4. Calculate gross Income. Add line 2 + line 3. 4,1 $ 4,325.27 $ N/A

 

 

 

 

 

 

Official Form 106i Schedule I: Your Income page 1

 
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Debtor1 Shianne St Louis Case number (if known)

 

 

sr Debto:

   
    

For Oebtor 2 or
non-filing spous:

Copy line 4 here 4. $ 4,325.27 $ N/A

     

 

 

5. List all payroll deductions:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions 5a. §$ 325.09 $ N/A
5b. Mandatory contributions for retirement plans 5b.  §$ 0.00 $ N/A
5c. Voluntary contributions for retirement plans 5c. §$ 0.00 $ NIA
5d. Required repayments of retirement fund loans 5d. $ 0.00 §$ N/A
5e. Insurance 5e. $ 0.00 $ N/A
5f. Domestic support obligations Sf. $ 0.00 $ NIA
5g. Union dues 5g. $ 0.00 $ N/A
5h. Other deductions. Specify: deductions 5h.t §$ 242.65 + $ N/A
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6. §$ 567.74 §$ NIA
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. §$ 3,757.53 $ NIA
List all other income regularly received:

8a. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total

monthly net income. 8a. $ 0.00 «§$ NIA
8b. Interest and dividends 8b. §$ 0.00 $ N/A
8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce

settlement, and property settlement. 8c. § 0.00 $ N/A
8d. Unemployment compensation 8d. §$ 0.00 $ NIA
8e. Social Security 8e. §$ 0.00 $ N/A
8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies.

Specify: 8f 0.00 = §$ N/A
8g. Pension or retirement income 8g. $ 0.00 $ NIA
8h. Other monthly income. Specify: 8h.+ $ 0.00 + $ N/A

9. Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h. 9. 1$ 0.00| |$ NIA
10. Calculate monthly income. Add line 7 + line 9. 10. |$ 3,757.53 | +|$ N/A | =|$ 3,757.53
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. +$ 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
applies 12.1 $ 3,757.53
Combined

monthly income
13. Do you expect an increase or decrease within the year after you file this form?

a No.
oO Yes. Explain: | |

 

 

Official Form 1061 Schedule |: Your Income page 2
 

 

 

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Fill in this information to identify your case:

 

 

 

Debtor 1 Shianne St Louis Check if this is:

O An amended filing
Debtor 2 OO Asupplement showing postpetition chapter
(Spouse, if filing) 13 expenses as of the following date:
United States Bankruptcy Court for the: DISTRICT OF MARYLAND MM/DD/YYYY

 

Case number
(if known)

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

 

Describe Your Household
1. Is this a joint case?
Hl No. Go to line 2.
CO Yes. Does Debtor 2 live in a separate household?

C No
O Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

2. Do you have dependents? [ No

 

   

 

 

 

 

 

Do not list Debtor 1 and yes Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. * each dependent.............. Debtor 1 i i
Do not state the
dependents names. Son
3. Do your expenses include HNo

expenses of people other than oO
yourself and your dependents? Yes
Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

 

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 1061.)

    

Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage
payments and any rent for the ground or lot. .$ 1,150.00

 

If not included in tine 4:

 

 

 

 

4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowner's, or renter’s insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 0.00
4d. Homeowner's association or condominium dues 4d. $ 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

 

Official Form 106J Schedule J: Your Expenses page 1
Case 19-20099 Doc1 Filed 07/26/19 Page 31 of 46

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor1 Shianne St Louis Case number (if known)
6. Utilities:
6a. Electricity, heat, natural gas 6a. $ 100.00
6b. Water, sewer, garbage collection 6b. $ 40.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 398.00
6d. Other. Specify: 6d. $ 0.00
7. Food and housekeeping supplies 7. $ 550.00
8. Childcare and children’s education costs 8. $ 0.00
9. Clothing, laundry, and dry cleaning 9. $ 200.00
10. Personal care products and services 10. $ 90.00
11. Medical and dental expenses 11. §$ 100.00
12. ion. include gas, maintenance, bus or train fare.
boner Plude ear payments 12. $ 250.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 200.00
14. Charitable contributions and religious donations 14. §$ 0.00
15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $ 0.00
15b. Health insurance 15b. $ 0.00
15c. Vehicle insurance 15c. $ 336.00
15d. Other insurance. Specify: 15d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $ 0.00
17. Installment or lease payments:
17a. Car payments for Vehicle 1 17a. $ 323.00
17b. Car payments for Vehicle 2 17b. $ 0.00
17c. Other. Specify: 17c. $ 0.00
17d. Other. Specify: 17d. $ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule |, Your income (Official Form 106l). 18. $ 0.00
19. Other payments you make to support others who do not live with you. $ 0.00
Specify: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. Mortgages on other property 20a. $ 0.00
20b. Real estate taxes 20b. $ 0.00
20c. Property, homeowner's, or renter’s insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner’s association or condominium dues 20e. §$ 0.00
21. Other: Specify: 21. +$ 0.00
22. Calculate your monthly expenses
22a. Add lines 4 through 21. $ 3,737.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $
22c. Add line 22a and 22b. The result is your monthly expenses. $ 3,737.00
23. Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. $ 3,757.53
23b. Copy your monthly expenses from line 22c above. 23b. -$ 3,737.00
23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income. 23e. | $ 20.53
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For exampie, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
Modification to the terms of your mortgage?
HE No.
0 Yes. Explain here:
Official Form 106J Schedule J: Your Expenses page 2

 

 
Case 19-20099 Doc1 Filed 07/26/19 Page 32 of 46

Fill in this information to identify your case:

Debtor 1 i i J UO cute
Shianne St Louis dbil 2 cuig

First Name Middie Name Last Name
Debtor 2 a — — BOOKER PTO SORT
(Spouse if, filing) irst Name iddie Name ast Name FE Muay uaND

United States Bankruptcy Court forthe: DISTRICT OF MARYLAND IWOP BOX

Case number
(if known) ( Check if this is an

amended filing

 

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 4245

If two married people are filing together, both are equatly responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000; or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

P| Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

 

 

   
   

(1) No
Mi Yes. Name ofperson Andrea Scott Attach Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119)
te eeaty of perj | declare that | have read the summary and schedules filed with this declaration and
that they are true and\coprect.

a _ oo x
“Shianne St Louis” Signature of Debtor 2
Signature of Debtor 1

X

 

 

Date July 26, 2019 Date
Official Form 106Dec Declaration About an Individual Debtor's Schedules
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Case 19-20099 Doc1 Filed 07/26/19 Page 33 of 46

Fill in this information to identify your case:

Debtor 1 Shianne St Louis

 

First Name Middie Name Last Name

Debtor 2 U .
(Spouse if, filing) First Name Middle Name Last Name JUL CV awd

 

  
 

United States Bankruptcy Court for the: | DISTRICT OF MARYLAND SPOKE Te sage
DIST OF Mo DAND
BALTI
Case number UTIMORE

DR oe
(if known) oO Che Finis is an
amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 4g

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

GEREEME Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?

O Married
M@ Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

@ No

O Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1 Prior Address: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

3. Within the last 8 years, did you ever live with a spouse or fegal equivalent ina community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

HM No
C1 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your Income

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

M No
O Yes. Fill in the details.
Debtor 1 Debtor 2
Sources of income Gross.income Sources of income Gross income
Check. all that apply. (before deductions.and Check ail that apply. (before deductions
exclusions) and exclusions)
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

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Debtor1 Shianne St Louis Case number (if known)

 

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits: royalties; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

MH No
O Yes. Fill in the details.
Debtor 1 Debtor 2
Sources of income Gross income from Sources of income Gross income
Describe below. each source Describe below. (before deductions
(before: deductions and and.exclusions)
exclusions)

List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

O No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
0 No. Go to line 7.

O Yes List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

MH Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Me No.  Gotoline7.

O Yes _List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Creditor's Name.and Address Dates of payment Total amount Amount you Was this payment for ...
paid still owe

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and

alimony.

M No

O Yes. List all payments to an insider.

Insider's Name and: Address Dates of payment Total amount Amount you _ Reason for this payment
paid still owe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?

Include payments on debts guaranteed or cosigned by an insider.

M@ No
Ol Yes. List all payments to an insider
Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe Include creditor's name
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

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Debtor1 Shianne St Louis Case number (if known)

 

Identify Legal Actions, Repossessions, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.
MH No
C) Yes. Fill in the details.
Case title Nature of the case Court or agency Status of the case
Case number
10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.
No. Go to line 11.
O Yes. Fill in the information below.
Creditor Name and Address Describe the Property Date Value. of the
property
Explain what happened
11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?
@ No
0 Yes. Fill in the details.
Creditor Name and Address Describe the action the creditor took Date action was Amount
taken
12.

Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

@ No
O Yes

GER List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
M No

OC Yes. Fill in the details for each gift.

Gifts with a total value of more than. $600 Describe the gifts

Dates you gave Value
per person

the gifts
Person to. Whom You Gave the Gift and
Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

M No
O Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed
more than $600
Charity's Name

Address (Number; Street; City; State and ZIP Code}

List Certain Losses

Dates you Value
contributed

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,

or gambling?
M@ No
O Yes. Fill in the details.
Describe the property you fost and Describe any insurance coverage for the loss Date of your Value. of property
how the loss occurred Include the amount that insurance has paid. List pending  '°SS lost
insurance claims on line 33 of Schedule A/B: Property.
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

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Debtor1 Shianne St Louis Case number (if known)

 

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

O No
@ Yes. Fill in the details.

Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment
Email or website address made

Person Who Made the Payment, if Not You

Andrea Scott Document Preparation $125.00

4417 Parkton Street
Baltimore, MD 21229

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

HM No

O Yes. Fill in the details.

Person Who Was Paid Description and value of any property Date payment Amount of

Address transferred or transfer was payment
made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

M@ No
CO sYes. Fill in the details.

Person Who Received Transfer Description and value of Describe any property or Date. transfer. was
Address property transferred payments received:or debts made

paid in exchange
Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

M@ No
O Yes. Fill in the details.

Name of trust Description and value of the property transferred Date Transfer was
made

List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

HM No
O Yes. Fill in the details.

Name of Financial Institution and Last 4 digits of Type of account or Date account was Last balance
Address (Number, Street, City, State and ZIP account number. instrument closed, sold, before closing or
Code) moved, or transfer
transferred
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

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21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

M@ No

O Yes. Fill in the details.

Name of Financial-Institution Who else had access to it? Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) Address (Number, Street; City, have it?

State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

@ No
O Yes. Fill in the details.
Name of Storage Facility Who else has.or had access Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) to it? have it?
Address (Number, Street, City,
State and ZIP Code}

Identify Property You Hold or Control for Someone Else

 

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust

for someone.
H No
C1 Yes. Fill in the details.
Owner's Name Where is the property? Describe the property Value
Address (Number, Street, City, State-and ZIP Code) (Number, Street, City, State and ZIP :

Code)
laaitee Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

HM Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

HM No
Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street; City, State and know it

ZiP Code}

25. Have you notified any governmental unit of any release of hazardous material?

M@ No
C]_ Yes. Fill in the details.
Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it
ZIP Code)
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26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

@ No
O Yes. Fill in the details.

Case Title Court or agency Nature of the case Status ofthe
Case Number Name case
Address (Number, Street, City,
State and ZIP Code)

ile Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
CA sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
CD A member of a limited liability company (LLC) or limited liability partnership (LLP)
OA partner in a partnership
O An officer, director, or managing executive of a corporation
0 An owner of at least 5% of the voting or equity securities of a corporation
HI No. None of the above applies. Go to Part 12.

O Yes. Check all that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Employer Identification number
Address Do not include Social Security number or ITIN.
(Number, Street, City, State and ZIP Code) Name of accountant or bookkeeper

Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

H@ No

0 Yes. Fill in the details below.

Name Date Issued
Address
(Number, Street, City, State and ZIP Code)

EELS Sign Below

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers

are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
a bankruptcy cg ~an result in fines up to $250,000, or imprisonment for up to 20 years, or both.

$19, and 3571.

  
 
  

 

 

Shianne St Louis” Signature of Debtor 2
Signature of Debtor 1
Date July 26, 2019 Date

 

 

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
HNo

CJ Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

0 No

Ml Yes, Name of Person Andrea Scott __ Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

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Notice Required by 11 U.S.C. § 342(b) for

Individuals Filing for Bankruptcy (Form 2010)

 

 

 

This notice is for you if:

Chapter 7: Liquidation

 

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.

§ 101(8) as “incurred by an individual
primarily for a personal, family, or

household purpose.”

 

 

 

The types of bankruptcy that are available to
individuals

Individuals who meet the qualifications may file under
one of four different chapters of Bankruptcy Code:

Chapter 7 - Liquidation
Chapter 11 - Reorganization

Chapter 12 - Voluntary repayment plan
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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$245 filing fee
$75 administrative fee

+ $15 trustee surcharge

 

$335 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their nonexempt
property to be used to pay their creditors. The
primary purpose of filing under chapter 7 is to have
your debts discharged. The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge. For example, a creditor
may have the right to foreclose a home mortgage or
repossess an automobile.

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge.

You should know that even if you file chapter 7 and
you receive a discharge, some debts are not
discharged under the law. Therefore, you may still
be responsible to pay:

most taxes;

most student loans;

domestic support and property settlement
obligations;

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most fines, penalties, forfeitures, and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers.

You may also be required to pay debts arising from:
fraud or theft;

fraud or defaication while acting in breach of
fiduciary capacity;

intentional injuries that you inflicted; and

death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs.

If your debts are primarily consumer debts, the court
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.
You must file Chapter 7 Statement of Your Current
Monthly Income (Official Form 122A—1) if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form
122A-2).

If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test
Calculation (Official Form 122A—2). The calculations on
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors. If

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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your income is more than the median income for your
state of residence and family size, depending on the
results of the Means Test, the U.S. trustee, bankruptcy
administrator, or creditors can file a motion to dismiss
your case under § 707(b) of the Bankruptcy Code. If a
motion is filed, the court will decide if your case should
be dismissed. To avoid dismissal, you may choose to
proceed under another chapter of the Bankruptcy
Code.

If you are an individual filing for chapter 7 bankruptcy,
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property. The
property, and the proceeds from property that your
bankruptcy trustee sells or liquidates that you are
entitled to, is called exempt property. Exemptions may
enable you to keep your home, a car, clothing, and
household items or to receive some of the proceeds if
the property is sold.

Exemptions are not automatic. To exempt property,
you must list it on Schedule C: The Property You Claim
as Exempt (Official Form 106C). If you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors.

 

Chapter 11: Reorganization

 

$1,167 _ filing fee

+ $550 administrative fee
$1,717 total fee

Chapter 11 is often used for reorganizing a business,
but is also available to individuals. The provisions of
chapter 11 are too complicated to summarize briefly.

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Read These Important Warnings

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Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
or inaction may harm you. If you file without an attorney, you are still responsible for knowing and

following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

Chapter 12: Repayment plan for family
farmers or fishermen

 

$200 filing fee
+ $75 administrative fee
$275 total fee

 

Similar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.

 

Chapter 13: Repayment plan for
individuals with regular
income

 

$235 filing fee
+ $75 administrative fee
$310 total fee

 

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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Under chapter 13, you must file with the court a plan
to repay your creditors all or part of the money that
you owe them, usually using your future earnings. If
the court approves your plan, the court will allow you
to repay your debts, as adjusted by the plan, within 3
years or 5 years, depending on your income and other
factors.

After you make all the payments under your plan,
many of your debts are discharged. The debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations,

most student loans,

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal fines and restitution obligations,

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal injury, and

certain long-term secured debts.

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Warning: File Your Forms on T

 

Bankruptcy crimes have serious consequences

If you knowingly and fraudulently conceal assets
or make a false oath or statement under penalty
of perjury—either orally or in writing—in
connection with a bankruptcy case, you may be
fined, imprisoned, or both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S.
Department of Justice.

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure
that you receive information about your case,
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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A married couple may file a bankruptcy case
together—called a joint case. If you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). If you are filing a joint
case, both spouses must receive the briefing. With
limited exceptions, you must receive it within the 180
days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
Internet.

In addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge. If you are
filing a joint case, both spouses must complete the

course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html

in Alabama and North Carolina, go to:
http://www.uscourts.gov/FederalCourts/Bankruptcy/
BankruptcyResources/ApprovedCredit

AndDebtCounselors.aspx.

 

 

If you do not have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain
the list.

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United States Bankruptcy Court
District of Maryland

Inre _Shianne St Louis Case No.

 

Debtor(s) Chapter 7

 

VERIFICATION OF CREDITOR MATRIX

The above-named Debtor hereby verifies that the attached list of creditors is true correct to the best of his/her knowledge.

   

Date: July 26, 2019

 

 

 

“Shianne St Louis
Signature of Debtor

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A & G MANAGEMENT
7779 New York Lane
Glen Burnie, MD 21061

Advance Radiology
Po Box 64580
Baltimore, MD 21264-4580

American Credit Acceptance
961 E Main Street, 2nd Flr
Spartanburg, SC 29302

Big Girlz Bail Bonds Inc
151 N Highland Ave
Baltimore, MD 21224

Capital One Auto
P O Box 259407
Plano, TX 75025

Capital One Bank
P O Box 30281
Salt Lake City, UT 84130

Capital One Bank
P O Box 30281
Salt Lake City, UT 84130

Charles Emergency Phy
PO Box 42934
Philadelphia, PA 19101

Comptroller Of Maryland
110 Carroll St
Annapolis, MD 21411-0001

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Credit Collection Service
Two Wells Ave
Newton, MA 02459

EOS
PO Box 981002
Boston, MA 02298

Brie Insurance
100 Brie Insurance Place
Erie, PA 16530

Gbomc
P.O. Box 418015
Boston, MA 02241

Halsted Financial Services LLC
P O Box 828
Skokie, IL 60076

JP P O Box 6414
Columbia, MD 21045

Navient
P O Box 9500
Wilkes Barnes, PA 18773

progress leasing
256 West Data Drive
Draper, UT 84020

Ralph L. Sapia PA
744 Dulaney Valley Road, Ste 5
Towson, MD 21204

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THE RECEIVABLE ANAGEMENT SERVICES
P O Box 19646
Minneapolis, MN 55419

VERIZON
500 Technology Dr, Ste 300
Weldon Spring, MO 63304

VERIZON
500 Technology Dr, Ste 300
Weldon Spring, MO 63304

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